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                                  No. 6:20-cv-00567

                                 Tina Shafer-Isaac,
                                       Plaintiff,
                                          v.
                                 C.R. Bard Inc. et al.,
                                     Defendants.


                                       ORDER

                Plaintiff brought various claims stemming from injuries
            caused by defendants’ Denali Vena Cava filter. Doc. 14. On
            January 8, 2021, plaintiff amended her complaint. Doc. 21. De-
            fendants subsequently filed a motion under Federal Rule of
            Civil Procedure 12(b)(6) to dismiss plaintiff’s gross negligence
            claim and any punitive-damage allegations. Doc. 23. Alterna-
            tively, defendants moved for a more definite statement and to
            strike certain allegations. Id.
                This case was referred to United States Magistrate Judge
            John D. Love, who issued a report recommending that de-
            fendants’ motion (Doc. 23) be granted in part as to plaintiff’s
            claim for gross negligence, but that plaintiff be granted leave
            to amend her allegations with respect to this claim. Doc. 42.
            The magistrate judge also recommended that defendants’ al-
            ternative request to strike the pleadings and for a more defi-
            nite statement be denied. Id. Plaintiff has since filed a second
            amended complaint. Doc. 43.
                Neither party has filed objections to the magistrate judge’s
            report and recommendation in the permitted timeframe. The
            court therefore reviews the magistrate judge’s findings for
            clear error or abuse of discretion and reviews his legal conclu-
            sions to determine whether they are contrary to law. See
            United States v. Wilson, 864 F.2d 1219, 1221 (5th Cir. 1989)
            (holding that, if no objections to a magistrate judge’s report
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            are filed, the standard of review is “clearly erroneous, abuse
            of discretion, and contrary to law”).
                 Having reviewed the magistrate judge’s report, and being
            satisfied that it contains no clear error, the court accepts its
            findings and recommendation. Defendants’ motion to dis-
            miss (Doc. 23) is granted-in-part and denied-in-part. Plain-
            tiff’s second amended complaint (Doc. 43) shall be the live
            complaint in this action and defendants shall respond in ac-
            cordance with the Federal Rules of Civil Procedure.


                                  So ordered by the court on March 29, 2021.



                                               J. C AMPBELL B ARK ER
                                             United States District Judge




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